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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

ROBERT SPENCER,                                 )    CASE NO. 1:18-cv-1764
                                                )
               Plaintiff,                       )
                                                )    JUDGE DONALD C. NUGENT
v.                                              )
                                                )
KENNETH FALZINI, et al.,                        )    MOTION OF DEFENDANTS FOR
                                                )    EXTENSION OF TIME IN WHICH TO
               Defendants.                      )    PLEAD OR MOVE IN RESPONSE TO
                                                )    PLAINTIFF’S COMPLAINT AND FOR
                                                )    LEAVE TO EXCEED PAGE
                                                )    LIMITATION FOR DISPOSITIVE
                                                )    MOTIONS IN UNASSIGNED CASES

       Defendants Kenneth Falzini, David Simia, Kevin Price, Matthew Berdysz, and the City

of Garfield Heights, by and through undersigned counsel, respectfully move this honorable Court

for an order granting Defendants a modest one-week extension of time to plead or move in

response to the Complaint of Plaintiff Robert Spencer, as well as for leave to file a memorandum

in support of their anticipated motion under Fed. R. Civ. P. 12 that is not longer than thirty (30)

pages in length.

       For cause, Defendants state that they received waivers of service from Plaintiff’s counsel

on August 10, 2018 and executed the same on August 13, 2018. By operation of Fed. R. Civ. P.

4(d)(3), Defendants’ answer or Fed. R. Civ. P. 12 motion is presently due by October 9, 2018. In

addition to preparing their response to Plaintiff’s Complaint, Defendants are actively engaged in

settlement negotiations with Plaintiff. To date, Plaintiff has made an initial settlement demand

and Defendants have responded to that demand today with their initial offer. To afford

Defendants sufficient time to prepare their response to Plaintiff’s Complaint while engaging in


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settlement negotiations, Defendants submit that a modest-one-week extension from October 9,

2018 to October 16, 2018 is appropriate.

       In the event this case is not resolved prior to the deadline for Defendants to respond to

Plaintiff’s Complaint, Defendants anticipate filing a motion under Fed. R. Civ. P. 12. Defendants

respectfully request leave to file a memorandum in support of this anticipated motion that is not

longer than thirty (30) pages in length. For cause, Defendants state that Plaintiff’s Complaint is

forty-five (45) pages in length, contains three hundred and sixty-three (363) numbered

paragraphs, includes over forty (40) footnotes with citations to statutes and caselaw, and asserts

twenty-seven (27) claims for relief. Although this Court’s Local Rule 7.1(f) provides that

“memoranda relating to dispositive motions must not exceed […] twenty (20) pages for

administrative, standard and unassigned cases,” Defendants submit that this limitation will

prevent them from fully and cogently presenting their anticipated arguments under Fed. R. Civ.

P. 12. For example, Defendants presently anticipate moving to dismiss several counts of

Plaintiff’s Complaint, in addition to asserting an argument in support of a motion for more

definite statement under Fed. R. Civ. P. 12(e). Given the length of Plaintiff’s complaint and the

sheer number of claims asserted, limiting an initial Rule 12 motion to twenty pages (less those

pages dedicated to the summary of alleged facts, issues to be decided, and summary of the

argument) would prevent Defendants from presenting well-reasoned and properly-supported

arguments for this Court’s consideration.

       Defendants submit that no party will be prejudiced by the relief requested in the instant

Motion. If granted, the brief extension of time requested herein would ensure that Defendants

have responded to Plaintiff’s Complaint prior to the October 22 case management conference.

Moreover, Defendants would not oppose a request by Plaintiff to file a brief in opposition to



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Defendants’ anticipated Fed. R. Civ. P. 12 motion that is commensurate in length with any

memorandum filed by Defendants.

       Accordingly, and for the reasons stated herein, Defendants respectfully request that this

honorable Court enter an order granting Defendants leave to plead or move in response to

Plaintiff’s Complaint by October 16, 2018, and for leave to file a memorandum not longer than

thirty (30) pages in length in support of any motion that Defendants may file pursuant to Fed. R.

Civ. P. 12.



                                            Respectfully submitted,

                                            /s/ Daniel J. Rudary
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                                            Counsel for Defendants Kenneth Falzini, David
                                            Simia, Kevin Price, Matthew Berdysz, and the City
                                            of Garfield Heights




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 2nd day of October, 2018, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.


                                                     /s/ Daniel J. Rudary
                                                     Counsel for Defendants Kenneth Falzini,
                                                     David Simia, Kevin Price, Matthew Berdysz,
                                                     and the City of Garfield Heights

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